         Case 1:19-cv-09616-ALC-SLC Document 36 Filed 11/10/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
BNP PARIBAS,

                                Plaintiff,

         -v-
                                                         CIVIL ACTION NO.: 19 Civ. 9616 (ALC) (SLC)

                                                                            ORDER
KURT ORBAN PARTNERS LLC, and MATT ORBAN,

                                Defendants,

TRAXYS NORTH AMERICA LLC,

               ADR provider and proposed intervenor.


SARAH L. CAVE, United States Magistrate Judge.

         The Court is in receipt of the Motion to Intervene filed by Traxys North America LLC on

November 9, 2020. (ECF No. 22).

         By November 16, 2020, the parties are directed to file a letter on the docket stating their

position on the Motion to Intervene.



Dated:            New York, New York
                  November 10, 2020

                                                       SO ORDERED



                                                       _________________________
                                                       SARAH L. CAVE
                                                       United States Magistrate Judge
